           Case 1:20-vv-01734-UNJ Document 20 Filed 06/10/21 Page 1 of 2


                                               CORRECTED

    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1734V
                                        UNPUBLISHED


    STEPHANIE BANKS and BRADLEY                              Chief Special Master Corcoran
    BANKS, on behalf of B.B., a minor
    child,                                                   Filed: May 10, 2021

                         Petitioners,                        Special Processing Unit (SPU);
    v.                                                       Ruling on Entitlement; Concession;
                                                             Table Injury; Rotavirus Vaccine;
    SECRETARY OF HEALTH AND                                  Intussusception
    HUMAN SERVICES,

                        Respondent.


Danielle Strait, Maglio Christopher & Toale, PA, Seattle, WA, for Petitioners.

Meghan Murphy, U.S. Department of Justice, Washington, DC, for Respondent.

                                    RULING ON ENTITLEMENT1

       On December 2, 2020, Stephanie Banks and Bradley Banks filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.2 (the “Vaccine Act”), on behalf of their minor child, B.B. Petitioners
allege that B.B. suffered intussusception, which meets the Table definition, after receiving
a second rotavirus vaccine on July 10, 2019. Petition at ¶¶ 5, 36. In the alternative, they
allege that the vaccine caused B.B.’s intussusception. Id. at ¶¶ 36, 38. Petitioners further
allege that B.B. suffered the residual effects of intussusception for more than six months
and that neither they nor any other party has filed a civil action or received compensation


1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioners have 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:20-vv-01734-UNJ Document 20 Filed 06/10/21 Page 2 of 2




for B.B.’s intussusception, alleged as vaccine caused. Id. at ¶¶ 37, 40-41. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On May 10, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioners are entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent states that “[i]t is [his] position that [P]etitioner has satisfied the
criteria set forth in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to
Interpretation for a Rotavirus/Intussusception Table injury.” Id. at 6. Respondent adds that
“based on the record as it now stands, [P]etitioner has satisfied all legal prerequisites for
compensation under the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioners are entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




                                               2
